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5:04cr50-005MCR - CHR]STOPHER B. NUNNERY

UNITED STATES DlSTR|CT COURT
NORTHERN DlSTR|CT OF FLOR|DA
PANAMA ClTY DlVlS|ON

UNITED STATES OF AMER|CA
-vs- Case # 5:04cr50-005lMCR

CHR|STOPHER B. NUNNERY
USM # 05875-017

Defendant’s Attorney:
C|yde Tay|or (Appointed)
119 East Park Avenue
Ta|lahassee, F|orida 32301

 

JUDGMENT lN A CR|M|NAL CASE

The defendant pled guilty to Count 1 of the lndictment on November 3, 2004. According|y, |T lS
ORDERED that the defendant is adjudged guilty of such count(s) which involve(s) the following
offense(s):

 

T|TLE/SECT|ON ' NATURE OF DATE OFFENSE

NUMBER OFFENSE CONCLUDED COUNT
21 U.S.C. §§ Conspiracy to Manufacture, Distribute and March 31 , 2004 1
841(a)(1), Possess with intent to Distribute more than 50
(b)(1)(A)(viii) and Grams of Methamphetamine (actual) and More
846 than 500 Grams of a Mixture and Substance

Containing Methamphetamine

The defendant is sentenced as provided in the following pages of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984, including amendments effective
subsequent to 1984, and the Sentencing Guidelines promulgated by the U.S. Sentencing
Commission.

|T lS FURTHER ORDERED that the defendant shall notify the United States attorney for this
district within 30 days of any change of name, residence, or mailing address until all fines,
restitution, costs and special assessments imposed by this judgment are fully paid.

Ul‘ 'r`lf,`§ i).'“' ~CL{:'?K Date of imposition of Sentence:
" " f May4, 2005

 

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ll ,u _ c._ ., 777 &€_4,/ @g,¢,¢,_
UN|TED STAT S DlSTR|CT JUDGE

Date Signed: May /’7! ,2005

FlL.ED

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lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of 96 months.

The Court recommends to the Bureau of Prisons: (1) Residential Drug Abuse Treatment Program
and (2) Designation in a facility near Bay County, F|orida

The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

 

 

RETURN
l have executed this judgment as follows:
Defendant delivered on to
at ' , with a certified copy of thisjudgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. Marshal

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suPEvasEo RELEA`sE

Upon release from imprisonment, the defendant shall be on supervised release for a term
of 5 years.

The defendant shall report to the probation office in the district to which the defendant is
released within 72 hours of release from custody of the Bureau of Prisons.

The defendant shall not commit another federa|, state, or local crime and shall not possess
a firearm, destructive device, or any other dangerous weapon.

The defendant shall not unlawfully possess a controlled substance. The defendant shall
refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug
test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as
determined by the court.

STANDARD COND|T|ONS OF SUPERV|S|ON

The defendant shall comply with the following standard conditions that have been
adopted by this court.

1. The defendant shall not leave the judicial district without the permission of the court or probation
officer;
2. The defendant shall report to the probation officer and shall submit a truthful and complete written

report within the first five days of each month;

3. The defendant shall answer truthfully aii inquiries by the probation officer and follow the instructions
of the probation officer;

4. The defendant shall support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for
schooling, training, or other acceptable reasons;

6. The defendant shall notify the probation officer at least 10 days prior to any change in residence or
empioyment;
7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any controlled substance or any paraphernalia related to any controlled
substances, except as prescribed by a physician;

8. The defendant shall not frequent places where controlled substances are illegally so|d, used,
distributed, or administered;

9. The defendant shall not associate with any persons engaged in criminal activity and shall not
associate with any person convicted of a felony unless granted permission to do so by the probation
officer;

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10.

11.

12.

13.

14.

The defendant shaii permit a probation officer to visit him or her at anytime at home or elsewhere and
shall permit confiscation of any contraband observed in plain view of the probation officer;

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by
a law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court; and

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement

if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the

defendant pay any such fine or restitution in accordance with the Scheduie of Payments set forth in
the Criminai Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
reiease:

The defendant shall not own or possess, either directly or constructiveiy, a firearm, dangerous
weapon, or destructive device.

The defendant shall submit to testing to determine whether he is using drugs or alcohol as may be
directed by the probation officer,

The defendant shall participate in a program of substance abuse treatment as may be directed by the
probation officer,

The defendant shall provide the probation officer all requested financial information, both business
and persona|.

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Upon a finding of a violation of probation or supervised reiease, l understand the Court may

(1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the conditions of
supervision.

These conditions have been read to me. l fully understand the conditions and have been
provided a copy of them.

 

Defendant Date

 

U.S. Probation Officer/Designated Witness Date

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CR|M|NAL MONETARY PENALT|ES

Aii criminal monetary penalty payments, except those payments made through the Bureau
of Prisons’ inmate Financiai Responsibility Program, are to be made to the Cierk, U.S. District
Court, unless otherwise directed by the Court. Payments shall be made payable to the Cierk, U.S.
District Court, and mailed to 1 11 N. Adams St., Suite 322, Ta|lahassee, FL 32301-7717. Payments
can be made in the form of cash if paid in person.

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Scheduie of Payments. The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment pursuant to 18 U.S.C. § 3612(f). Aii of the payment
options in the Scheduie of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

SUMMARY
Speciai
Monetag¢ Assessment Fine Restitution
$100 Waived None

SPEC|AL MONETARY ASSESSMENT

A special monetary assessment of $100 is imposed.
No fine imposed.

No restitution imposed.

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SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) special monetary assessment; (2) non-federal
victim restitution; (3) federal victim restitution; (4) fine principai; (5) costs; (6) interest; (7) penalties
in fuii immediately

Breakdown of fine and other criminal penalties is as follows:
Fine: Waived SMA: $100 Restitution: None Cost of Prosecution: None

The $100 monetary assessment shall be paid immediateiy. Any payments of the monetary
assessment and the fine made while the defendant is incarcerated shall be made through the
Bureau of Prisons’ inmate Financiai Responsibility Program. The remaining balance shall be paid
as follows: The defendant must notify the court of any material changes in the defendants
economic circumstances, in accordance with 18 U.S.C. §§ 3572(d), 3664(k) and 3664(n). Upon
notice of a change in the defendant’s economic condition, the Court may adjust the installment
payment schedule as the interests of justice require.

Speciai instructions regarding the payment of criminal monetary penalties pursuant to 18 U.S.C.
§ 3664(f)(3)(A):

Uniess the court has expressly ordered otherwise above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of
imprisonment in the event the entire amount of monetary penalties imposed is not paid prior to
the commencement of supervision, the U.S. probation officer shall pursue collection of the amount
due. The defendant will receive credit for all payments previously made toward any criminal
monetary penalties imposed.

